CaSe: 4215-CV-00060-GHD-.]|\/|V DOC #Z 68 Filed: 08/15/16 l Of l Page|D #Z 1844

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
GREENVILLE DIVISION

IDA MAE COOPER,

Deceasea', By ana' Through Lee Dora Fiela’s,
As Aa'ministralrz`x and as Representative of the
Wrongful Death Beneficiaries of Ia'a Mae

Cooper, Deceasea' PLAINTIFF
v. CASE NO. 4:15cv60-GHD-JMV
RCG MISSISSIPPI, INC. DEFENDANT

ORDER DISMISSING ACTION

BY REASON OF SETTLEMENT

The court has been advised by counsel that this action has been settled, or is in the
process of being settled. Therefore, it is not necessary that the action remain upon the calendar
of the court.

It is ORDERED that the action is DISMISSED Without prejudice. The court retains
complete jurisdiction to vacate this order and to reopen the action upon cause shown that
settlement has not been completed and further litigation is necessary.

This _/é day of August, 2016.

aga /QM

Senior United States District Judge

 

